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        ATTACHMENT 13
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            EXHIBIT A
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         UNITED STATES DISTRICT COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                  If You Bought A Cathode Ray Tube Product,
                                                   A Class Action Settlement May Affect You.
              Cathode Ray Tube (CRT) Products include Cathode Ray Tubes and finished products that
                     contain a Cathode Ray Tube such as Televisions and Computer Monitors
                       A Federal Court authorized this Notice. This is not a solicitation from a lawyer.
   A class action lawsuit brought on behalf of direct purchasers of CRT Products is currently pending.
   Plaintiffs claim that Defendants (listed below) and co-conspirators engaged in an unlawful conspiracy to fix, raise, maintain or
    stabilize the prices of cathode ray tubes. Plaintiffs further claim that direct purchasers from the Defendants of televisions and
    monitors containing cathode ray tubes may recover for the effect that the cathode ray tube conspiracy had on the prices of
    televisions and monitors. Plaintiffs allege that, as a result of the unlawful conspiracy involving cathode ray tubes, they and other
    direct purchasers paid more for CRT Products than they would have paid absent the conspiracy. Defendants deny Plaintiffs’
    claims.
   Settlements have been reached with (1) Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.
    (collectively “CPT”)., and (2) Koninklijke Philips Electronics N.V., Philips Electronics North America Corporation, Philips
    Electronics Industries (Taiwan), Ltd., and Philips Da Amazonia Industria Electronica Ltda. (collectively, “Philips”). The
    companies are together referred to as the “Settling Defendants.”
   Your legal rights will be affected whether you act or don’t act. This Notice includes information on the Settlements and the
    continuing lawsuit. Please read the entire Notice carefully.
                        These Rights and Options – and deadlines to exercise them – are explained in this notice
                           You can object or comment on the Settlements                                                             see Question 10
                           You may also exclude yourself from the Settlements                                                       see Question 10
                           You may go to a hearing and comment on the Settlements                                                   see Question 14
   The Court in charge of this case still has to decide whether to approve each of the Settlements. The case against the Non-Settling
    Defendants (identified below) continues.
                                                               WHAT THIS NOTICE CONTAINS
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              3.    What is this lawsuit about?
              4.    Why are there Settlements but the litigation is continuing?
              5.    What is a Cathode Ray Tube Product?
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        The Settlement Approval Hearing .................................................................................................................. Page 4
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        The Lawyers Representing You ...................................................................................................................... Page 4
              15. Do I have a lawyer in the case?
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              17. How do I get more information?

            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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                                                         BASIC INFORMATION
1.       Why did I get this notice?
You or your company may have directly purchased Cathode Ray Tubes (CRTs) or certain products containing those tubes between
March 1, 1995 and November 25, 2007. For purposes of these Settlements, a direct purchaser is a person or business who bought a
CRT, or a television or computer monitor containing a CRT directly from one or more of the Defendants, co-conspirators, affiliates, or
subsidiaries themselves, as opposed to an intermediary (such as a retail store).
You have the right to know about the litigation and about your legal rights and options before the Court decides whether to approve
the Settlements.
The notice explains the litigation, the two settlements, and your legal rights.
The Court in charge of the case is the United States District Court for the Northern District of California, and the case is called In re
Cathode Ray Tube (CRT)) Antitrust Litigation, MDL No. 1917. The people who sued are called Plaintiffs and the companies they sued
are called Defendants.
2.       Who are the Defendant companies?
The Defendant companies include: LG Electronics, Inc., LG Electronics U.S.A., Inc., LG Electronics Taiwan Taipei Co., Ltd,
Koninklijke Philips Electronics N.V., Philips Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd.,
Philips da Amazonia Industria Electronica Ltda., LP Displays International, Ltd. f/k/a LG.Philips Displays, Samsung Electronics Co.,
Ltd., Samsung Electronics America, Inc., Samsung SDI Co. Ltd., Samsung SDI America, Inc., Samsung SDI Mexico S.A. de C.V.,
Samsung SDI Brasil Ltda., Shenzhen Samsung SDI Co. Ltd., Tianjin Samsung SDI Co. Ltd., Samsung SDI Malaysia Sdn. Bhd.,
Toshiba Corporation, Toshiba America, Inc., Toshiba America Consumer Products, LLC., Toshiba America Information Systems,
Inc., Toshiba America Electronics Components, Inc., Panasonic Corporation f/k/a Matsushita Electric Industrial, Ltd., Panasonic
Corporation of North America, MT Picture Display Co., Ltd., Beijing-Matsushita Color CRT Company, Ltd. (BMCC), Hitachi, Ltd.,
Hitachi Displays, Ltd., Hitachi Electronic Devices (USA), Inc., Hitachi America, Ltd., Hitachi Asia, Ltd., Tatung Company of
America, Inc., Chunghwa Picture Tubes Ltd., Chunghwa Picture Tubes (Malaysia) Sdn. Bhd., IRICO Group Corporation, IRICO
Display Devices Co., Ltd., IRICO Group Electronics Co., Ltd., Thai CRT Company, Ltd., Daewoo Electronics Corporation f/k/a
Daewoo Electronics Company, Ltd., Daewoo International Corporation, Irico Group Corporation, Irico Group Electronics Co., Ltd.,
and Irico Display Devices Co., Ltd.
3.       What is this lawsuit about?
The lawsuit alleges that Defendants and co-conspirators conspired to raise and fix the prices of CRTs and the CRTs contained in
certain finished products for over ten years, resulting in overcharges to direct purchasers of those CRTs and certain finished products
containing CRTs. The complaint describes how the Defendants and co-conspirators allegedly violated the U.S. antitrust laws by
establishing a global cartel that set artificially high prices for, and restricted the supply of, CRTs and the televisions and monitors that
contained them. Defendants deny Plaintiffs’ allegations. The Court has not decided who is right.
4.       Why are there Settlements but the litigation is continuing?
Only two of the Defendants have agreed to settle the lawsuit – CPT and Philips. The case is continuing against the remaining Non-
Settling Defendants. Additional money may become available in the future as a result of a trial or future settlements, but there is no
guarantee that this will happen.
5.       What is a Cathode Ray Tube Product?
For the purposes of the Settlements, Cathode Ray Tube Products means Cathode Ray Tubes of any type (e.g. color display tubes, color
picture tubes and monochrome display tubes) and finished products which contain Cathode Ray Tubes, such as Televisions and
Computer Monitors.
6.       What is a class action?
In a class action, one or more people, called class representatives, sue on behalf of people who have similar claims. All these people
are members of the class, except for those who exclude themselves from the class.
If the Plaintiffs obtain money or benefits as a result of a trial or future settlement, you will be notified about those settlements, if any, at
that time. Important information about the case will be posted on the website, www.CRTDirectPurchaserAntitrustSettlement.com as it
becomes available. Please check the website to be kept informed about any future developments.
                                                       THE SETTLEMENT CLASS
7.       How do I know if I’m part of the Settlement Class?
All persons and entities who, between March 1, 1995 and November 25, 2007, directly purchased a CRT Product in the United States
from any Defendant or subsidiary or affiliate thereof, or any co-conspirator.(“Settlement Class”).



            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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8.        What do the Settlements provide?
The settlement with CPT provides for payment of $10,000,000 in cash, plus interest. The settlement also provides for extensive
cooperation with Plaintiffs regarding the antitrust conspiracy alleged in the complaint. In addition, CPT’s sales remain in the case for
the purpose of computing damages against the remaining non-settling Defendants. Finally, the settlement provides that $500,000 of
the $10 million settlement fund, subject to Court approval, may be used to pay expenses incurred in the litigation for prosecution of
the action on behalf of the Settlement Class against non-settling defendants.
The Settlement with Philips provides for payment of $27,000,000 in cash; however, the $27 million settlement amount is subject to
reduction based on the number of exclusions from the Settlement Class after notice. The detailed reduction formula is set forth in the
Philips settlement available on the Settlement Class website, www.CRTDirectPurchaserAntitrustSettlement.com. The settlement
also provides for extensive cooperation with Plaintiffs regarding the antitrust conspiracy alleged in the complaint. In addition, Philips’
sales remain in the case for the purpose of computing damages against the remaining non-settling Defendants. Finally, the settlement
provides that $500,000 of the settlement fund, subject to Court approval, may be used to pay expenses incurred in the litigation for
prosecution of the action on behalf of the purported class against non-settling defendants.
More details are in both Settlement Agreements, available at www.CRTDirectPurchaserAntitrustSettlement.com.
9.        When can I get a payment?
No money will be distributed to any Settlement Class Member yet. The lawyers will pursue the lawsuit against the Non-Settling
Defendants to see if any future settlements or judgments can be obtained in the case and then be distributed together, to reduce expenses.
Any future distribution of the Settlement Funds will be done on a pro rata basis. You will be notified in the future when and where to
send a claim form. DO NOT SEND ANY CLAIMS NOW.
In the future, each Settlement Class member’s pro rata share of the Settlement Fund will be determined by computing each valid
claimant’s total CRT Product purchases divided by the total valid CRT Product purchases claimed. This percentage is multiplied to
the Net Settlement Fund (total settlements minus all costs, attorneys’ fees, and expenses) to determine each claimants pro rata share of
the Settlement Fund. To determine your CRT Product purchases, CRT tubes (color display and color picture) are calculated at full
value (100%) while CRT televisions are valued at 50% and CRT computer monitors are valued at 75%.
In summary, all valid claimants will share in the settlement funds on a pro rata basis determined by the CRT value of the product you
purchased -tubes 100%, monitors 75% and televisions 50%.
10.       What are my rights in the Settlement Class?
Remain in the Settlement Class: If you wish to remain a member of the Settlement Class you do not need to take any action at this time.
Get out of the Settlement Class: If you wish to keep any of your rights to sue the Settling Defendants about the claims in this case
you must exclude yourself from the Settlement Class. You will not get any money from either of the settlements if you exclude
yourself from the Settlement Class.
To exclude yourself from the Settlement Class, you must send a letter that includes the following:
         Your name, address and telephone number;
         A statement saying that you want to be excluded from In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917,
          CPT Settlement, and/or Philips Settlement; and
         Your signature.
You must mail your exclusion request, postmarked no later than July 23, 2012, to:
                                                      CRT Claims Administrator
                                                        c/o Gilardi & Co. LLC
                                                            P.O. Box 8090
                                                      San Rafael, CA 94912-8090
                                                          Tel: 877-224-3063
Remain in the Settlement Class and Object: If you have comments about, or disagree with, any aspect of the Settlements, you may
express your views to the Court by writing to the address below. The written response needs to include your name, address, telephone
number, the case name and number (In re Cathode Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), a brief explanation of your
reasons for objection, and your signature. The response must be postmarked no later than July 23, 2012 and mailed to:
 COURT                              INTERIM LEAD COUNSEL              COUNSEL FOR CPT                    COUNSEL FOR PHILIPS
 Honorable Charles A.               Guido Saveri                      Joel S. Sanders                    John M. Taladay
 Legge (Ret.)                       R. Alexander Saveri               Gibson, Dunn & Crutcher LLP        Baker Botts LLP
 JAMS                               SAVERI & SAVERI, INC.             555 Mission Street, Suite 3000     1299 Pennsylvania Ave. N.W.
 Two Embarcadero, Suite 1500        706 Sansome Street                San Francisco, CA 94105            Suite 1000
 San Francisco, CA 94111            San Francisco, CA 94111                                              Washington, D.C. 20004
            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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11.      What am I giving up to stay in the Settlement Class?
Unless you exclude yourself from the Settlement Class, you can’t sue the Settling Defendants, or be part of any other lawsuit against
Settling Defendants about the legal issues in this case. It also means that all of the decisions by the Court will bind you. The “Release
of Claims” includes any causes of actions asserted or that could have been asserted in the lawsuit, as described more fully in the
Settlement Agreements. The Settlement Agreements are available at www.CRTDirectPurchaserAntitrustSettlement.com.
                                           THE SETTLEMENT APPROVAL HEARING
12.      When and where will the Court decide whether to approve the Settlement?
The Court will hold a Fairness Hearing at 10:00 a.m. on September 20, 2012, at JAMS, Two Embarcadero, Suite 1500, San
Francisco, CA 94111. The hearing may be moved to a different date or time without additional notice, so it is a good idea to check the
Settlement Class website for information. At this hearing, the Court will consider whether the Settlements are fair, reasonable and
adequate. If there are objections or comments, the Court will consider them at that time. After the hearing, the Court will decide
whether to approve the Settlements. We do not know how long these decisions will take.
13.      Do I have to come to the hearing?
No. Interim Lead Counsel will answer any questions the Court may have, but you are welcome to come at your own expense. If you
send an objection or comment, you don’t have to come to Court to talk about it. As long as you mailed your written objection on time,
the Court will consider it. You may also pay another lawyer to attend, but it’s not required.
14.      May I speak at the hearing?
If you want your own lawyer instead of Interim Lead Counsel to speak at the Final Approval Hearing, you must give the Court a paper
that is called a “Notice of Appearance.” The Notice of Appearance should include the name and number of the lawsuit (In re Cathode
Ray Tube (CRT) Antitrust Litigation, MDL No. 1917), and state that you wish to enter an appearance at the Fairness Hearing. It also
must include your name, address, telephone number, and signature. Your “Notice of Appearance” must be postmarked no later than
July 23, 2012. You cannot speak at the Hearing if you previously asked to be excluded from the Settlement.
The Notice of Appearance must be sent to the addresses listed in Question 10.
                                             THE LAWYERS REPRESENTING YOU
15.      Do I have a lawyer in the case?
Yes. The Court has appointed the law firm of Saveri & Saveri, Inc. to represent you as “Interim Lead Counsel.” You do not have to
pay Interim Lead Counsel. If you want to be represented by your own lawyers, and have that lawyer appear in court for you in this
case, you may hire one at your own expense.
16.      How will the lawyers be paid?
Class Counsel are not asking for attorneys’ fees at this time. At a future time, Interim Lead Counsel will ask the Court for attorneys’
fees not to exceed one-third (33.3%) of this or any future Settlement Fund plus reimbursement of their costs and expenses, in
accordance with the provisions of the Settlement Agreements. Interim Lead Counsel may also request that an amount be paid to each
of the Class Representatives who helped the lawyers on behalf of the whole Class.
                                                GETTING MORE INFORMATION
17.      How do I get more information?
This Notice summarizes the lawsuit and the Settlement. You can get more information about the lawsuit and Settlements at
www.CRTDirectPurchaserAntitrustSettlement.com, by calling 1-877-224-3063, or writing to CRT Claims Administrator, c/o Gilardi
& Co. LLC, P.O. Box 808003, Petaluma CA 94975-8003. Please do not contact JAMS or the Court about this case.
Dated: June 7, 2012                                              BY ORDER OF THE COURT




            For More Information: Call 1-877-224-3063 or Visit www.CRTDirectPurchaserAntitrustSettlement.com
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             EXHIBIT B
 LEGAL NOTICE   If You Bought A Cathode Ray Tube (“CRT”) or CRT Product,                  LEGAL NOTICE
ase 4:07-cv-05944-JST
                  A ClassDocument
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                                 Settlement
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 CRT Products include Televisions or Computer Monitors that contain Cathode Ray Tubes
 Settlements have been reached with two defendants in a class action lawsuit involving CRTs and
 CRT Products. CRT stands for “Cathode Ray Tube.” “Cathode Ray Tube (CRT) Products” include
 Cathode Ray Tubes and finished products that contain a Cathode Ray Tube such as Televisions and
 Computer Monitors.
                                     What is this lawsuit about?
 The lawsuit alleges that Defendants and Co-Conspirators engaged in an unlawful conspiracy to fix,
 raise, maintain or stabilize the prices of CRTs. Plaintiffs further claim that direct purchasers from
 the Defendants of televisions or monitors that contain a cathode ray tube manufactured by a
 Defendant may recover for the effect that the alleged CRT conspiracy had on the prices of
 televisions or monitors. Plaintiffs allege that, as result of the unlawful conspiracy involving CRTs,
 they and other direct purchasers paid more for CRT Products than they would have absent the
 conspiracy. Defendants deny Plaintiffs’ claims.
                                 Who’s included in the settlements?
 The Settlements include all persons and entities who, between March 1, 1995 and
 November 25, 2007, directly purchased a CRT Product in the United States from any Defendant or
 subsidiary or affiliate thereof (“Settlement Class”).
                                  Who are the Settling Defendants?
 Settlements have been reached with Defendants Chunghwa Picture Tubes, Ltd. and Chunghwa
 Picture Tubes (Malaysia) Sdn. Bhd. (collectively “CPT”) and Koninklijke Philips Electronics N.V.,
 Philips Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd., and
 Philips Da Amazonia Industria Electronica Ltda. (collectively, “Philips”) The companies are
 together referred to as the “Settling Defendants.” A complete list of Defendants is set out in the
 Long Form of Notice available at www.CRTDirectPurchaserAntitrustSettlement.com.
                                  What do the Settlements provide?
 The CPT Settlement provides for the payment of $10,000,000 in cash, plus interest, to the
 Settlement Class. The Philips Settlement provides for the payment of $27,000,000 in cash, subject
 to a reduction based on the number of exclusions from the Settlement Class after notice. Each
 settlement provides that $500,000 of the settlement fund, subject to Court approval, may be used to
 pay expenses incurred in the litigation for prosecution of the action on behalf of the Class against
 the non-settling defendants. Both Settling Defendants have agreed to provide Plaintiffs with
 significant and valuable cooperation in the prosecution of the case against the remaining
 non-settling Defendants. Money will not be distributed to Settlement Class members at this time.
 The lawyers will pursue the lawsuit against the other Defendants to see if any future settlements or
 judgments can be obtained in the case and then be distributed together, to reduce expenses.
                                         What are my rights?
 If you wish to remain a member of the Settlement Class you do not need to take any action at this
 time. If you do not want to be legally bound by the Settlements, you must exclude yourself in
 writing by July 23, 2012, or you will not be able to sue, or continue to sue, the Settling Defendants
 about the legal claims in this case.
 If you wish to comment on or disagree with any aspect of the proposed settlements, you must do so
 in writing no later than July 23, 2012. The Settlement Agreements, along with details on how to
 object to them, are available at www.CRTDirectPurchaserAntitrustSettlement.com. The U.S.
 District Court for the Northern District of California will hold a Fairness Hearing at 10:00 a.m. on
 September 20, 2012, at JAMS, Two Embarcadero, Suite 1500, San Francisco, CA 94111. The
 hearing may be moved to a different date or time without additional notice, so it is a good idea to
 check the website for information.
 The Court has appointed the law firm of Saveri & Saveri, Inc. to represent Direct Purchaser Class
 members as Interim Lead Class Counsel. The Court will hold a hearing at 10:00 a.m. on
 September 20, 2012 to consider whether the Settlements are fair, reasonable and adequate. If there
 are objections or comments, the Court will consider them at that time. You may appear at the
 hearing, but don’t have to. We do not know how long these decisions will take. Please do not
 contact JAMS or the Court about this case.
 This is a Summary Notice.        For more details, call toll free 1-877-224-3063, visit
 www.CRTDirectPurchaserAntitrustSettlement.com., or write to CRT Claims Administrator,
 P.O. Box 808003, Petaluma, CA 94975.
 www.CRTDirectPurchaserAntitrustSettlement.com                                  1-877-224-3063
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             EXHIBIT C
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Cathode Ray Tubes Antitrust Litigation
Requests For Exclusion Received

Automated Environments, Inc
      1853 S Horne #5
      Mesa, AZ 85204

Best Buy
       Best Buy Co., Inc.
       Best Buy Purchasing, LLC
       Best Buy Enterprise Services, Inc.
       Best Buy Stores, L.P.
       BestBuy.com, LLC
       Magnolia Hi-Fi, Inc.

        7601 Penn Avenue South
        Richfield, MN 55423

Anheuser Busch Companies LLC
      1 Busch Place
      St. Louis, MO 63118

Circuit City Stores, Inc.
        Alfred H. Siegel, Trustee
        Liquidating Trust
        P.O. Box 5695
        Glen Allen, VA 23058

CompuCom Systems, Inc.
     7171 Forest Lane
     Dallas, TX 75230

Electrograph Systems, Inc.
        Electrograph Technologies Corp.
        International Computer Graphics, Inc.
        ActiveLight, Inc.
        CineLight Corporation
        Manchester Technologies, Inc.
        Champion Vision, Inc.
        Coastal Office Products, Inc.

        53 Lakeside Drive
        Rockville Ctr, NY 11570

Interbond Corporation of America
        d/b/a BrandsMart USA

        3200 SW 42nd St.
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        Hollywood, FL 33312

Office Depot, Inc.
        Office Depot Asia Holding Limited
        Office Depot BA SAS (f.k.a. Guilbert France S.AS.)
        Office Depot BVBA (f.k.a. Guilbert Belgium BVBA)
        Office Depot Brasil Limitada (inactive)
        Office Depot Brasil Participacoes Limitad
        Office Depot Centro America, SA de CV
        Office Depot Chile Limitada (inactive)
        Office Depot Cyprus Limited (f.k.a Claigan Ltd.)
        Office Depot Delaware Overseas Finance No. 1, LLC (f.k.a Office Depot Delaware Overseas Finance N
        Office Depot de Mexico SA de CV
        Office Depot Deutschland GmbH (f.k.a Guilbert Deutschland GmbH)
        Office Depot France SNC (f.k.a Office Depot France SAS)
        Office Depot Hungary Kft (f.k.a Elso Iroda Superstore Kft.)
        Office Depot, Inc.
        Office Depot International BVBA
        OD International (Luxembourg) Finance
        Office Depot, B.V. (formerly Guilbert Netherland BV)
        Office Depot Cooperatief W.A.
        Office Depot Europe B.V.
        Office Depot Europe Holdings Ltd.
        Office Depot GmbH + Switzerland
        Office Depot Holding GmbH + Switzerland
        Office Depot Holding Ltd.
        Office Depot Holding 2 Ltd.
        Office Depot Holding 3 Ltd.
        Office Depot, Inc.
        Office Depot International B.V.
        Office Depot International (UK) Ltd.
        Office Depot Ireland Limited (f.k.a Guilbert Ireland Ltd)
        Office Depot (Israel) Ltd.
        Office Depot Italia S.r.l.
        Office Depot Japan Limited
        Office Depot Korea Limited (f.k.a Best Office Co., Ltd.)
        Office Depot Latin American Holdings B.V.
        Office Depot MDF SNC
        Office Depot NA B.V.
        Office Depot N.A. Shares Services LLC
        Office Depot Netherland B.V. (f.k.a Office Depot International, B.V.) (f.k.a Viking Direct (Holdings) B.V.)
        Office Depot Network Technology Ltd.
        Office Depot (Operations) Holding B.V. (f.k.a Guilbert Trademarks B.V.)
        Office Depot Overseas Limited
        Office Depot Overseas Holding Limited
        Office Depot Overseas 2 Holding Limited
        Office Depot Poland Sp Z.O.o. (f.k.a Fontinalis)
        Office Depot Private Limited
        Office Depot Procurement and Sourcing (Schenzhen) Company Ltd. Or translated: Office Depot Mercha
        Office Depot Puerto Rico, LLC
        Office Depot SAS (f.k.a Guilbert SAS)
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Office Depot Service Center SRL
Office Depot Service - und BeteiligungsGmbH&Co.KG
Office Depot s.r.o. (f.k.a Papririus s.r.o.)
Office Depot S.L. (f.k.a Guilbert Espana S.L.)
Office Depot Tokumei Kumiai
Office Depot UK Limited (f.k.a Guilbert UK Ltd)
Office Depot - Viking Holdings B.V.
2300 South Congress LLC
4Sure.com, Inc.
AGE Kontor & Data AB
AsiaEC.com Limited
BizDepot, LLC (inactive)
Centro de Apoyo Caribe SA de CV
Centro de Apoyo SA de CV
Computers4Sure.com, Inc.
Curry's Limited
Deo Deo Tokumei Kumiai
eOffice Planet India Private Limited
Erial BQ S.A.
Europa S.A.S.
Gosta Hansson & Co AB
Guibert Beteiligungsholding GmbH
Guilbert International B.V.
Guilbert Luxembourg S.AR.L.
Guilbert UK Holdings Ltd
Guilbert UK Pension Trustees Ltd
HC Land Company LLC
Helge Dahnbert AB + Sweden
Heteyo Holdings B V.
Hutter GmbH
Japan Office Supplies, LLC
Kontorsfackhandlarna Stockholm AB + Sweden
Kontorsgruppen I Sverige AB + Sweden
NEWGOH Immobilienverwaltung GmbH
Neighborhood Retail Development Fund, LLC (inactive)
Niceday Distribution Centre Ltd
North American Card and Coupon Services, LLC
Notus Aviation, Inc.
OD Acquisition Canada ULC
OD Aviation, Inc.
OD Colombia Ltda
OD El Salvador, Ltda. De C.V.
OD France, LLC
ODV France, LLC
ODG Caribe SA de CV (f.k.a Urguguay Cia. Papelera, SA de CV)
OD Guatemala y Compania. Limitada
OD Honduras S de RL
OD International, Inc.
OD International Holdings CV
OD International (Luxembourg) Holdings S.A.R.L.
OD International (Luxembourg) Participation S.A.R.L.
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       OD Management SNC
       OD Medical Solutions LLC
       OD of Texas, LLC (f.k.a OD of Texas Inc.)
       ODPanamaSA
       OD S.N.C.
       ODST, LLC (inactive)
       OD Tressorerie (f.k.a om S.N.C)
       Office 1 Ltd
       Office 1 (1995) Ltd
       Office Club, Inc.
       OfficeSupplies.com, Inc.
       Office Town, Inc. (inactive)
       Papirius Kft.
       Pappersnabben I Malmo AB + Sweden
       Patitucci Ltd.
       Reliable Uk Ltd
       Ritma AB + Sweden
       S.A.R.L.
       Servicios Administrativos Office Depot SAdeCV
       Servicios y Material De Escritorio S.L.
       Solutions4Sure.com, Inc.
       Stitching Office Depot Charity for Childern
       Swinton Avenue Trading Limited, Inc.
       Viking Direct B.V.
       Viking Direct (Holdings) Limited
       Viking Direct (Ireland) Limited (f.k.a Viking Direct (Ireland) Limited; then Office Depot International (Irela
       Viking Direct S.A.R.L.
       Dviking Direkt GesmbH
       Viking Finance (Ireland) Limited
       Viking Office Products, Inc.
       Viking Office Products KK
       Viking Office Products S.r.l. (f.k.a Viking Direct Srl)
       VOP (Ireland) Limited
       VPC System S.r.l. (inactive)

       6600 N. Military Trail
       Boca Raton FL 33496

P.C. Richard & Son Long Island Corporation
        P.C Ricard & Son Long Island Corporation
        A.J. Richard & Sons, Inc.;
        P.C Ricard & Son, LLC;
        P.C. Richard Service Company;
        Alfred Reliable Appliances, Inc.;
        Reliable Richard's Service Corp.;
        AGP Services Corp.;
        Two Guys Ventures Corp.;
        A.J. Staten Island, LLC;
        P.C. Deer Park, LLC;
        P.C. 185 Price Parkway, LLC;
        P.C. 1574, Inc.;
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       P.C. 1574 Milford LLC;
       P.C. Lawrenceville, LLC;
       P.C. Brick 70, LLC;
       P.C. Richard & Son Connecticut, LLC

       150 Price Parkway
       Farmingdale NY 11735

Rockwell Collins
      400 Collins Rd NE
      Cedar Rapids, IA 52498

Sharp Corporation
       Sharp Electronics Corporation
       Sharp Manufacturing Company of America
       Sharp Electronics Manufacturing Company of America

       22-22 Nagaike-Cho
       Abeno-Ku
       Osaka, JAPAN 545-8522
          and
       Sharp Plaza
       Mahwah, NJ 07495

Tech Data Corporation
       AKL Telecommunications GmbH
       Azlan European Finance Limited
       Azlan GmbH
       Azlan Group Limited
       Azlan Limited
       Azlan Logistics Limited
       Azlan Overseas Holdings Ltd.
       Azlan Scandinavia AB
       Batterex B.V.
       Computer 2000 Distribution Ltd.
       Computer 2000 Publishing AB
       Datatechnology Datech Ltd.
       Datech 2000 Ltd.
       Expander Express AB
       Expander Informatic AB
       Expander Technical AB
       Frontline Distribution Ltd.
       Frontline Distribution (Ireland) Ltd.
       Hakro-Ooseterberg-Nijkerk B.V.
       Horizon Technical Services (UK) Limited
       Horizon Technical Services AB
       Hotlamps Limited
       Managed Training Services Limited
       Maneboard Ltd
       Maverick Presentation Products Limited
       ProDesk N.V
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Quadrangle Technical Services Limited
Screen Expert Limited UK
TD Brasil, Ltda
TD Facilities, Ltd. (Partnership)
TD Fulfillment Services, LLC
TD Tech Data AB
TD Tech Data Portugal Lda
TD United Kingdom Acquisition Limited
Tech Data (Netherlands) B.V.
Tech Data (Schweiz) GmbH
Tech Data bvba/sprl
Tech Data Canada Corporation
Tech Data Chile S.A.
Tech Data Colombia S.A.S.
Tech Data Corporation ("TDC")
Tech Data Denmark ApS
Tech Data Deutschland GmbH
Tech Data Distribution s.r.o.
Tech Data Education, Inc.
Tech Data Espana S.L.U.
Tech Data Europe GmbH
Tech Data Europe Services and Operations, S.L.
Tech Data European Management GmbH
Tech Data Finance Partner, Inc.
Tech Data Finance SPV, Inc.
Tech Data Financing Corporation
Tech Data Finland OY
Tech Data Florida Services, Inc.
Tech Data France Holding Sarl
Tech Data France SAS
Tech Data GmbH & Co OHG
Tech Data Information Technology GmbH
Tech Data Global Finance LP
Tech Data International Sarl
Tech Data Italia s.r.l.
Tech Data Latin America, Inc.
Tech Data Ltd
Tech DataLuxembourg Sarl
Tech Data Management GmbH
Tech Data Marne SNC
Tech Data Mexico S. de R.L. de C.V.
Tech Data Midrabge GmbH
Tech Data Nederland B.V.
Tech Data Norge AS
Tech Data Operations Center, SA
Tech Data Osterreich GmbH
Tech Data Peru S.A.C.
Tech Data Polska Sp.z.o.o
Tech Data Product Management, Inc.
Tech Data Resources, LLC
Tech Data Service GmbH
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       Tech Data Servicios, S. de R.L. de C.V.
       Tech Data Strategy GmbH
       Tech Data Tennessee, Inc.
       Tech DataUruguay S.A.
       Triade Holding B.V.
       Triade Rosenmeier Electronics AS

       5350 Tech Data Drive
       Clearwater, FL 33760

Schultze Asset Management, LLC*
       Tweeter Newco, LLC
       Tweeter Opco, LLC
       Tweeter Intellectual Property, LLC
       Tweeter Tivoli, LLV
       Tweeter Home Entertainment Group, Inc.
       Sound Advice, Inc d//b/a Sound Advice and Showcase Home Entertainment
       Hifi Buys Incorporated
       Tweeter Etc.
       Douglas TV & Appliance, Inc.
       Douglas Audio Video Caters, Inc.
       United Audio Centers, Inc.
       Sumarc Electronics Incorporated d/b/a NOW! Audio Video
       Bryn Mawr Radio and Television, Inc.
       The Video Scene, Inc. d/b/a Big Screen City
       Hillcrest High Fidelity, Inc. d/b/a Hillcrest Audio
       DOW Stereo/Video, Inc.
       Home Entertainment of Texas, Inc.
       SMK Marketing, Inc. d/b/a Audio Video Systems
       Sound Advice of Arizona, Inc.
       New England Audio Co., Inc.
       NEWA Delaware, Inc.
       THEG USA L.P.
       Showcase Home Entertainment

       3000 Westchester Avenue, Ste 204
       Purchase, NY 10577

Unisys Corporation
       801 Lakeview Drive Ste 100
       Blue Bell, PA 19422

NECO Alliance LLC*
      Aitoro Appliance Co., Inc.
      Appliance Dealers Cooperative Inc.
      Dynamic Marketing, Inc.
      Intercounty Appliance Corp.
      Nationwide of Conneticut, Inc.
      New England Appliance & Electronics Group, Inc.

       620 Route 25A, Suite D
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        Mount Sinai, NY 11766

Target Corporation
        1000 Nicolett Mall
        Minneapolis, MN 55403

Sears
        Sears, Roebuck and Co.
        Sears Holdings Corporation
        Sears Holdings Management Corporation
        Kmart Corporation
        Kmart Management Corporation
        Kmart Holdings Corporation

        3333 Beverly Road
        Hoffman Estates, IL 60179

Dell, Inc.
         Alienware Corporation
         Alienware Labs Corporation
         ASAP Software Express Inc.
         Boomi, Inc
         Bracknell Boulevard (Block C) L.L.C.
         Bracknell Boulevard (Block D) L.L.C.
         Compellent Technologies Inc.
         DCC Executive Security Inc.
         Dell America Latina Corp
         Dell Asset Revolving Trust
         Dell Asset Securitization GP L.L.C.
         Dell Asset Securitization Holding L.P.
         Dell Columbia Inc.
         Dell Computer Holdings L.P.
         Dell Conduit Funding L.P.
         Dell Conduit GP L.L.C.
         Dell DFS Corporation
         Dell DFS Holdings L.L.C.
         Dell Equipment Funding L.P.
         Dell Equipment GP L.L.C.
         Dell Federal Systems Corporation
         Dell Federal Systems GP L.L.C.
         Dell Federal Systems L.P.
         Dell Federal Systems LP L.L.C.
         Dell Financial Services L.L.C.
         Dell Funding L.L.C.
         Dell Global Holdings IV L.L.C
         Dell Global Holdings IX L.L.C
         Dell Global Holdings L.L.C
         Dell Global Holdings VI L.L.C
         Dell Global Holdings VII L.L.C
         Dell Global Holdings VIII L.L.C
         Dell International Holdings I L.L.C.
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Dell International L.L.C.
Dell Marketing Corporation
Dell Marketing GP L.L.C.
Dell Marketing L.P.
Dell Marketing LP L.L.C.
Dell Products Corporation
Dell Products GP L.L.C.
Dell Products L.P.
Dell Products LP L.L.C.
Dell Protective Services Inc.
Dell Receivables Corporation
Dell Receivables GP L.L.C.
Dell Receivables LP
Dell Receivables LP L.L.C.
Dell Revolver Company L.P.
Dell Revolver Funding L.L.C.
Dell Revolver GP L.L.C.
Dell Product and Process Innovation Services Corp.
Dell USA Corporation
Dell USA GP L.L.C.
Dell USA LP
Dell USA LP L.L.C.
Dell World Trade Corporation
Dell World Trade GP L.L.C.
Dell World Trade L.P.
Dell World Trade LP L.L.C.
DFS Equipment Holdings, L.P.
DFS Equipment Remarketing LLC
DFS Funding L.L.C.
DFS-SPV L.L.C.
Force10 Networks, Inc.
Turin Networks International, Inc.
Force10 Networks Global, Inc.
Force10 Networks International, Inc.
InSIte One, Inc.
License Technologies Group, Inc.
Perot Systems Application Solutions Inc.
Perot Systems Communications Services, Inc.
Perot Systems Corporation
Perot Systems Government Healthcare Solutions, Inc.
Perot Systems Government Services, Inc.
Perot Systems Government Solutions, Inc.
Perot Systems Healthcare Solutions, Inc.
Perot Systems Revenue Cycle Solutions, Inc.
PrSM Corporation
PSC GP Corporation
PSC Healthcare Software, Inc.
PSC LP Corporation
PSC Management Limited Partnership
QSS Group, Inc
Secure Works Holding Corp.
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Secure Works Inc.
Transaction Applications Group Inc.
Alienware Latin America, S.A
Canada Branch of Perot Systems Corporation
Corporacion Dell de Venezuela SA
Dell DFS Canada Inc.
Dell America Latina Corp., Argentina Branch
Dell Canada, Inc.
Dell Columbia Inc., Columbia Branch
Dell Computadores do Brasil Ltda.
Dell Computer de Chile Ltda.
Dell Computer Services de Mexico SA de CV
Dell Export Sales Corporation
Dell Global Holdings III L.P.
Dell Global Holdings Ltd.
Dell Guatemala Ltda.
Dell Honduras S de RL de CV
Dell Mexico, S.A. de C.V.
Dell Panama S. de R.L.
Dell Peru, SAC
Dell Puerto Rico Corp.
Dell Quebec Inc.
Dell Technology Services Inc. S.R.L.
Dell Trinidad and Tobago Limited
Force10 Networks Mexico SA de CV
Force10 International, Ltd.
Perot Systems TSI (Bermuda) Ltd.
TXZ Holding Company Limited
26eme Avenue SAS
Abu Dabi Branch of PSC Healthcare Software, Inc.
Alienware Limited
Bracknell Boulevard Management Company Limited
Branc of Dell (Free Zone Company L.L.C.)
Compellent Technologies International Ltd.
Compellent Technologies Netherlands BV
Compellent Technologies Germany GmbH
Compellent Technologies France Sarl
Compellent Technologies Italy Srl
Dell A.B.
Dell A.S.
Dell A/S
Dell Asia B.V.
Dell B.V.
Dell Computer (Proprietary) Ltd
Dell Computer EEIG
Dell Computer International (II) - Comercio de Computadores Sociedade Unipessoal Lda
Dell Computer S.A.
Dell Computer spol. Sro
Dell Corporation Limited
Dell Corporation Limited - Northern Ireland Place of Business
Dell DFS Holdings Kft.
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Dell DFS Ltd. - Spain Branch
Dell DFS Ltd
Dell Direct
Dell Distribution (EMEA) Limited External Company (Ghana)
Dell Distribution Maroc (Succ)
Dell Emerging Market (EMEA) Ltd (Russia Representitive Office)
Dell Emerging Markets (EMEA) Limited
Dell Emerging Markets (EMEA) Limited - Egypt Representative Office
Dell Emerging Markets (EMEA) Limited - Representative Office
Dell Emerging Markets (EMEA) Limited - Representative Office (Jordan)
Dell Emerging Markets (EMEA) Limited - Representative Office (Rebublic of Croatia)
Dell Emerging Markets (EMEA) Limited (Kazikhstan Representative Office)
Dell Emerging Markets (EMEA) Limited (Uganda Representative Office)
Dell Emerging Markets (EMEA) Limited Magyarorszagi Kereskedelmi Kepviselet - Rep.Office
Dell Emerging Markets (EMEA) Limited Representative Office - Lebanon
Dell Emerging Markets (EMEA) Limited Trade Representative Office (Bulgaria)
Dell FZ - LLC
Dell FZ - LLC -- Bahrain Branch
Dell FZ - LLLC -- Qatar Branch
Dell Gesm.b.H.
Dell Global B.V.
Dell Global Holdings II B.V.
Dell Global Holdings III B.V.
Dell Global International BV
Dell GmbH
Dell Halle GmbH
Dell Hungary Technology Solutions Trade LLC
Dell III -- Comercio de Computadores, Unipessoal LDA
Dell International Holdings IX B.V.
Dell International Holdings Kft.
Dell International Holdings SAS
Dell International Holdings VIII B.V.
Dell International Holdings X B.V.
Dell International Holdings XII Cooperatoef U.A.
Dell International Services SRL
Dell L.L.C.
Dell N.V.
Dell Products
Dell Products (Europe) B.V.
Dell Products (Poland) Sp. Z o.o
Dell Products Manufacturing Ltd.
Dell Research
Dell (Switzerland) GmbH
Dell S.A.
Dell S.A.
Dell S.p.A.
Dell s.r.o.
Dell SA
Dell SAS
Dell Services S.r.L.
Dell Solutions (UK) Ltd.
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Dell Sp.z.o.o.
Dell Taiwan B.V.
Dell Technology & Solutions (Nigeria) Limited
Dell Technology & Solutions Israel Ltd.
Dell Technology & Solutions Ltd. (Formerly Original Solutions Limited)
Dell Technology Products and Services S.A
Dell Teknoloji Limited Serketi
DFS BV
DIH IX CV
DIH VI CV
DIH VII CV
DIH VIII CV
Force10 Networks France SARL
Force10 Networks Germany (Branch)
Force10 Networks Spain (Rep Branch)
Force10 Networks Ltd.
LLC Dell Ukraine
Oy Dell A.B.
Dell Services GmbH (FKA. Perot Systems (Germany) GmbH)
Perot Systems (Slovakia) s.r.o.
Perot Systems (Switzerland) GmbH
Perot Systems (UK) Ltd.
Perot Systems B.V.
Perot Systems Europe Limited
Perot Systems Investments B.V.
Perot Systems Nederland B.V.
Perot Systems S.r.l.
Perot Systems TSI (Hungary) Liquidity Management LLC
Perot Systems TSI (Mauritius) Pvt. Ltd.
Perot Systems TSI (Middle East) FZ-LLC
Perot Systems TSI (Netherlands) B.V.
SCI Siman
Secure Works UK Ltd.
Secure Works UK Ltd. - Finland Branch
Alienware Corporation (Pacific Rim), Pty Ltd.
Australia Branch of Perot Systems (Singapore) Pte. Ltd.
Bearing Point Management Consulting (Shanghai) Ltd.
Dell (China) Company Limited
Dell (China) Company Limited, Beijing Branch
Dell (China) Company Limited, Beijing Liaison Office
Dell (China) Company Limited, Chengdu Branch
Dell (China) Company Limited, Chengdu Liaison Office
Dell (China) Company Limited, Dalian Branch
Dell (China) Company Limited, Guangzhou Branch
Dell (China) Company Limited, Guangzhou Liaison Office
Dell (China) Company Limited, Hangzhou Liaison Office
Dell (China) Company Limited, Nanjing Liaison Office
Dell (China) Company Limited, Shanghai Branch
Dell (China) Company Limited, Shanghai Liaison Office
Dell (China) Company Limited, Shenzhen Liaison Office
Dell (China) Company Limited, Ziamen Branch
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Dell (Thailand) Co., Ltd.
Dell (Ziamen) Company Limited
Dell (Ziamen) Company Limited, Dalian Branch
Dell Asia Holdings Pte. Ltd.
Dell Asia Pacific Sdn Bhd (Pakistan Liaison Office)
Dell Asia Pacific Sdn.
Dell Asia Pacific Sdn. Philippines Representative Office
Dell Asia Pte. Ltd.
Dell Australia Pty. Limited
Dell B.V., Taiwan Branch
Dell Global B.V., Singapore Branch
Dell Global Business Center Sdn. Bhd.
Dell Global BV (Bangladesh Representative Office)
Dell Global BV (Indonesia Representative Office)
Dell Global BV (Pakistan Liaison Office)
Dell Global BV (Philippines Representative Office)
Dell Global BV (Sri-Lanka Representative Office)
Dell Global BV (Vietnam Representative Office)
Dell Global Procurement Malaysia Sdn. Bhd.
Dell Global Pte. Ltd.
Dell Hong Kong Limited
Dell India Private Ltd.
Dell India (Sales & Marketing) Private Limited
Dell International Inc.
Dell Internatonal Services Philippines Inc.
Dell Japan Inc.
Dell New Zealand Limited
Dell Procurement (Xiamen) Company Limited
Dell Procurement (Xiamen) Company Limited, Shanghai Branch
Dell Procurement (Xiamen) Company Limited, Shenzhen Liaison Office
Dell Sales Malaysia Sdn Bhd
Dell Singapore Pte. Ltd.
Dell Taiwan B.V., Taiwan Branch
EqualLogic Japan Company Limited
Turin Networks India Pvt. Ltd.
Force10 Networks India Pvt. Ltd.
Force10 Networks Australia Pty. Ltd.
Force10 Networks Singapore Pvt. Ltd.
Force10 Networks (Shanghai) Ltd.
Force10 Networks Malaysia (Branch)
Force10 Networks Hong Kong (Branch)
Force10 Networks Korea YH
Force10 Networks KK
Ocarina Networks India Pvt. Ltd.
Perot Systems (Malaysia) Sdn. Bhd.
Perot Systems (Shanghai) Consulting Co., Limited
Perot Systems (Singapore) Pte. Ltd.
Perot Systems Holdings Pte. Ltd.
Dell International Services India Private Limited (f.k.a. Perot Systems TSI (India) Private Limited)
Dell (Chengdu) Company Limited
Dell Services (China) Company Limited
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       Dell Information Technology (Hunan) Company Limited
       PT Dell Indonesia

       One Dell Way
       Round Rock, TX 78682

ViewSonic Corporation
      ViewSonic Corporation
      ViewSonic International Corporation
      ViewSonic Display Limited
      ViewSonic Hong Kong Limited

       381 Brea Canyon Road
       Walnut, CA 91789

PBE Consumer Electronics, LLC
      c/o Linquest
      80 S Eighth Street
      Minneapolis, MN 54402

Costco Wholesale Corporation
       999 Lake Dr
       Issaquah, WA 98027

ABC Appliance, Inc.
      d/b/a ABC Warehouse
      1 West Silverdone Industrial Park
      Pontiac, MI 48342

MARTA Cooperative of America, Inc.
     515 East Carefree Hwy #1140
     Phoenix, AZ 85085
